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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT ()F INDIANA

MICHELLE COMSTOCK,
Plaintiff,
vS.

D.B.K.-VISION, INC.,
dib/a McDONALD’S,

I)efendant.

EVANSVILLE DIVISION

Case No. 3:12-cv-00099-RLY»WGH

Judge Richard L. Young
(Magistrate Judge Hussmann)

STIPULATION OF DISMISSAL OF
COMPLAINT WITH PREJUDICE

Pursuant to this Court’s Entry dated Decernber '?, 2012, it is hereby stipulated by the l

parties Who have appeared in the Within action, by and through their counsel, that the Within

matter has been settled and, therefore, shall be, and hereby isJ dismissed, With prejudice, each

party to bear their own costs.

Respectfully submitted,

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4834-6800-7186, V. ‘i

/s/ Anthonv J. Caruso per authorization 12/18/2012
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